            Case 3:24-cr-00931-JES Document 28 Filed 06/28/24 PageID.76 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                   V.                               (For Offenses Committed on or After November 1, 1987)
              GASPAR LOERA CARRILLO
           aka “CARRILLO GASPAR-LOERA,"                                Case Number: 3:24-CR-0931-JES-1

                                                                    Jordan Schaer
                                                                    Defendant’s Attorney
USM Number                         02025506
☐ _
THE DEFENDANT:
☒ pleaded guilty to count               One of the Indictment

☐ was found guilty on count(s)
     after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section / Nature of Offense                                                                                 Count
8:1325(a)(1) – Improper Entry by an Alien (Felony)                                                                      1




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒      Count Two of the Indictment is dismissed on the motion of the United States.

☒      Assessment: $100.00 remitted.
      _

☐ JVTA Assessment*: $
      -
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ Fine waived                  ☐ Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    June 28, 2024
                                                                    Date of Imposition of Sentence



                                                                    HON. JAMES E. SIMMONS, JR.
                                                                    UNITED STATES DISTRICT JUDGE
            Case 3:24-cr-00931-JES Document 28 Filed 06/28/24 PageID.77 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case
 DEFENDANT:             Gaspar Loera Carrillo                                                      Judgment - Page 2 of 2
 CASE NUMBER:           3:24-CR-0931-JES-1

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time served as of 7/10/2024.




 ☐      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ☐      The court makes the following recommendations to the Bureau of Prisons:




 ☐      The defendant is remanded to the custody of the United States Marshal.

 ☐      The defendant must surrender to the United States Marshal for this district:
        ☐    on or before __________ at 12:00 PM
        ☐    as notified by the United States Marshal.

        The defendant must surrender for service of sentence at the institution designated by the Bureau of
 ☐
        Prisons:
        ☐    on or before ___________ at 12:00 PM; or
        ☐    as notified by the United States Marshal.
        ☐    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

      Defendant delivered on                                             to

 at                                       , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



//


                                                                                                    3:24-CR-0931-JES-1
